963 F.2d 1522
    59 Fair Empl.Prac.Cas. (BNA) 864
    Lawrencev.Baker
    NOS. 91-6219, 91-6285
    United States Court of Appeals,Second Circuit.
    Apr 22, 1992
    
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      Appeal From:  N.D.N.Y.
    
    
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      AFFIRMED.
    
    
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      Federal Reporter.  The Second Circuit provides by rule for
    
    
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      disposition by summary order when a decision is unanimous
    
    
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      and each judge believes that 'no jurisprudential purpose
    
    
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      would be served by a written opinion.' Decisions without
    
    
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      formal opinions 'shall not be cited or otherwise used in
    
    
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      unrelated cases.' Second Circuit Rules, § 0.23, 28 U.S.C.A.)
    
    